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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                        Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                        Defendants.



          Upon this Court’s own motion, upon notice that Plaintiffs’ counsel may seek to designate

   certain non-lawyers within their list of six (6) persons to be provided electronic access to the jury

   questionnaires, and otherwise finding good cause shown, the Court hereby AMENDS Pretrial

   Order ¶ 3, (Dkt. 1172) as follows:

          Plaintiffs, and Defendants represented by counsel collectively, may each designate no

   more than six (6) persons, which may be comprised of (1) current counsel of record or (2) third

   parties working under their direction, who are formally engaged and supervised by the attorneys

   of record, and for whom such attorneys of record will be responsible, and who will have signed

   the Court’s protective order, Dkt. 167, so long as such persons include at least one attorney

   admitted to practice in the Western District of Virginia, to be provided electronic access by the

   Clerk to receive and review copies of the jury questionnaires, on a rolling basis. A list including

   names and occupations of prospective jurors, and information matching such prospective jurors

   with the questionnaires pursuant to Dkt. 1204 ¶ 2, will also be provided to such specifically

   designated persons by Plaintiffs and represented Defendants, no more than five (5) days before

   trial. Jury questionnaires and such occupation list, and any information contained therein, are

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   subject to the Court’s orders regarding confidentiality in Dkt. 1172 and 1204, and shall not be

   disclosed to any other person without prior authorization of Court.

             Any pro se Defendant—upon completing a declaration stating, under penalty of perjury,

   they will not disclose the contents of such questionnaires or the jury occupation list provided to

   such pro se Defendant to any other person—may review the questionnaires and jury occupation

   list onsite in the Clerk’s Office. A paper copy of the completed questionnaires and the jury

   occupation list customarily made available to pro se litigants will be maintained in the Clerk’s

   Office.

             If any party requests specific access to the confidential juror questionnaires in excess of

   the provisions outlined above and in Dkts. 1172 and 1204, they shall file a motion to that effect.

   In all other respects, this Court’s Orders of Dkt. 1172 and 1204 shall remain unchanged and in

   force.

             It is so ORDERED.

             The Clerk of the Court is directed to send a certified copy of this Order to the parties.

             Entered this 19th     day of October, 2021.




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